  Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.730 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


UNITED STATES OF AMERICA,
                                                 MEMORANDUM DECISION AND ORDER
                       Plaintiff,                  DENYING MOTION FOR REDUCED
                                                            SENTENCE
 v.

MATTHEW SHAWN IZENBERG,
                                                           Case No. 2:08-CR-00365-DB
                    Defendant.
                                                                 Judge Dee Benson


       Before the Court is Defendant Matthew Shawn Izenberg’s Motion for Reduced Sentence

under 18 U.S.C. § 3582 of the First Step Act. (Dkt. 111.) The Court has considered the facts and

arguments set forth in the parties’ filings and the reports by the United States Probation Office.

For the reasons stated herein, Defendant’s motion is denied.

                                         BACKGROUND

       On January 7, 2011, Defendant pleaded guilty to one count of Distribution of

Methamphetamine in violation of 21 U.S.C. § 841(a)(1). (Dkt. 87.) This Court sentenced him to

a total term of 188 months of imprisonment followed by 72 months of supervised release. (Dkt.

87.) Defendant is currently serving his sentence at Terminal Island Federal Correctional Institute

(“Terminal Island”). He has served 12 years and 4 months of his prison term. His anticipated

release date is October 7th, 2021. (Dkt. 116, Ex. 1.)

       On July 18, 2020, Defendant first petitioned his warden for a compassionate release

reduction in sentence related to the COVID-19 pandemic. (Dkt. 115 at 3.) On July 27, 2020, nine

days later, Defendant filed his pro se motion before this Court. The warden denied Defendant’s

petition on August 12, 2020 after concluding that Defendant did not meet the compassionate


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  Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.731 Page 2 of 7




release criteria. (Dkt. 115 at 3) Two days later, on August 14, 2020, counsel for Defendant filed a

supplement to that motion. (Dkt. 115.)

       Defendant asks this Court to reduce his sentence to time served. (Dkt. 115.) Defendant

argues that compassionate release is appropriate because he has an increased risk of developing

severe illness from COVID-19 because he has type-II diabetes, obesity, hypertension, and liver

disease. (Dkt. 114, Exhs. 1-2.) Defendant also notes that Terminal Island has “been the site of an

extensive COVID-19 outbreak,” and that he is near the end of his term of imprisonment. (Dkt.

115 at 6-8.) The government opposes Defendant’s motion, arguing that: (1) Defendant has failed

to exhaust his administrative remedies under §3582(c)(1)(A); (2) Defendant has failed to

demonstrate extraordinary and compelling reasons sufficient to warrant a sentence reduction

under §3582; (3) Defendant has failed to show he does not pose a danger to the community and

the §3553(A) factors weigh against his release. (Dkt. 116 at 9-15.)

                                         DISCUSSION

       District courts are “authorized to modify a Defendant’s sentence only in specified

instances where Congress has expressly granted the court jurisdiction to do so.” United States v.

White, 765 F.3d 1240, 1244 (10th Cir. 2014) (quoting United States v. Blackwell, 81 F.3d 945,

947 (10th Cir. 1996)). Title 18 U.S.C. § 3582(c), known as the compassionate release statute,

permits a court to modify a term of imprisonment if the defendant demonstrates that he has met a

procedural requirement and proved that he qualifies under the substantive test. See id.

       The first step under the compassionate release statute is a procedural requirement. A

defendant may file his own motion for relief after “(1) he has exhausted all administrative rights

to appeal the BOP’s failure to bring a motion on his behalf, or (2) 30 days have passed since the




                                                 2
    Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.732 Page 3 of 7




warden of his facility received his request for the BOP to file a motion on his behalf.”1 United

States v. O’Brien, 2020 WL 4260630, *2 (D. Kan July 24, 2020) (quoting 18 U.S.C. §

3582(c)(1)(A)).

         The next step involves a three-pronged test. Once the exhaustion requirement is satisfied,

a defendant is only entitled to relief where the proposed sentence reduction is supported by: (1)

“extraordinary and compelling reasons;” (2) “factors set forth in [18 U.S.C. §] 3553(a);” and (3)

“applicable policy statements issued by the Sentencing Commission[;]” 18 U.S.C. §

3582(c)(1)(A).2 Each prong is discussed in more depth below.

         Exhaustion

         Under the compassionate release statute, the Court first determines whether Defendant

has met the exhaustion requirement. As pertinent here, a defendant has cleared this procedural

hurdle when “30 days have passed since the warden of his facility received his request for the

BOP to file a motion on his behalf.” 18 U.S.C. § 3582(c)(1)(A)).

         Here, Defendant filed his pro se motion on July 27, 2020, nine days after he petitioned

his warden. (Dkt. 111.) Defendant filed a supplement to that motion on August 14, 2020, 27 days

after he petitioned his warden. (Dkt. 115.) The government argues that because Defendant failed

to wait 30 days to file either motion, Defendant failed to exhaust the administrative remedies

available to him. (Dkt. 116.) Defendant argues that the 30 days specified in the statute is a limit



1
 Previously, these conditions required the Bureau of Prisons (BOP) to bring a motion on a defendant’s behalf.
However, in 2018, Congress amended the compassionate release statute with the First Step Act.
2
  While each of these three determinations set forth separate and distinct factors for the court to analyze, there is
significant overlap. The policy statements shed light on the meaning of “extraordinary and compelling,” yet they
also include new factors to analyze such as whether the defendant will be a danger to the community. The factors set
forth in 18 U.S.C. § 3553(a) include the “need for the sentence imposed . . . to protect the public from further crimes
of the defendant,” yet they also include a broader analysis which considers the nature of the offense as well as the
overall justification of the sentence imposed.

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    Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.733 Page 4 of 7




on the time a court, not a defendant, must wait before ruling on a defendant’s motion. (Dkt. 115.)

The Court need not address the exhaustion requirement in this case because, even assuming

Defendant satisfied the exhaustion requirement, his motion fails on the merits.

        Compassionate Release

        Next, the Court looks to whether Defendant demonstrates extraordinary and compelling

reasons warranting release.3 The Sentencing Commission has noted that the medical condition of

a prisoner may constitute an extraordinary and compelling reason for sentence reduction if (i) the

prisoner is suffering from a terminal illness, or (ii) he is suffering from a serious physical or

medical condition that “substantially diminishes” his ability to provide self-care within the prison

and he is not expected to recover. U.S.S.G. § 1B1.13 application note 1(A).

        Within the context of the current pandemic, “most courts agree that an inmate

demonstrates extraordinary and compelling circumstances if she has serious underlying health

conditions that place her at an increased risk of serious illness or death from COVID-19 while

incarcerated.” United States v. Avalos, Slip Copy, 2020 WL 5253406, at *3 (D. Kan. Sept. 3,

2020); United States v. Delgado, 2020 WL 2464685, at *3 (D. Conn. Apr. 30, 2020) (“Since the

outbreak of the COVID-19 pandemic, numerous courts … have held that a defendant’s pre-

existing health conditions … in combination with the increased risk of COVID-19 in prisons

constitute ‘extraordinary and compelling reasons’ warranting relief”) (collecting cases).

However, “the mere existence of COVID-19 in society and the possibility that it may spread to a

particular prison alone cannot independently justify compassionate release.” United States v.

Raia, 954 F.3d 594, 597 (3rd Cir. 2020).


3
  The Sentencing Commission’s policy statement lists four categories of possible extraordinary and compelling
reasons for a sentence reduction: “(A) Medical Condition of the Defendant,” “(B) Age of the Defendant,” “(C)
Family Circumstances,” and “(D) Other Reasons.” U.S.S.G. § 1B1.13 application note 1.

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    Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.734 Page 5 of 7




         Defendant argues that he has an increased risk of serious illness from COVID-19 because

he is 58 years old, and suffers from type-II diabetes, obesity, hypertension, and liver disease.

(Dkt. 114, Exs. 1-2.) Defendant also notes that Terminal Island FCI, where Defendant is

incarcerated, “has been the site of an extensive COVID-19 outbreak.” (Dkt. 115 at 8.) The

government makes almost no argument in terms of Defendant’s health status, though it does

point out that Terminal Island FCI is appropriately managing Defendant’s medical conditions

and has made significant strides since its initial outbreak.4 (Dkt. 116 at 2-3.)

         Defendant’s type-II diabetes and obesity are both listed by the CDC to involve an

increased risk of severe illness from COVID-19. https://www.cdc.gov/coronavirus/2019-ncov/

(last accessed Sept. 30, 2020).5 Defendant’s hypertension and liver disease are listed by the CDC

as conditions that might place an individual at an increased risk for severe illness. Id. Here, the

Court concludes that Defendant’s medical conditions, coupled with COVID-19, may constitute

extraordinary and compelling reasons to justify compassionate release. However, before granting

release, the district court must still consider the additional factors set forth in the Sentencing

Commission’s policy statements and 18 U.S.C. § 3553(a).

         Section 3553(a) Sentencing Factors & Danger to the Community

         The final two determinations involve similar inquiries. As pertinent here, Section 3553(a)

looks to: “(1) the nature and circumstances of the offense and the history and characteristics of

the defendant[,]” and “(2) the need for the sentence imposed to reflect the seriousness of the

offense and promote respect for the law, and to provide just punishment for the offense, to afford


4
  Currently at Terminal Island Federal Correction Institute, there are only two active inmate cases and there are zero
active staff cases. (Dkt. 116 at 13-14.)
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  The list of conditions includes: cancer; chronic kidney disease; COPD (chronic obstructive pulmonary disease);
Immunocompromised state (weakened immune system) from solid organ transplant; obesity (body mass index
[BMI] of 30 or higher); serious heart conditions, such as heart failure, coronary artery disease, or cardiomyopathies;
sickle cell disease; type 2 diabetes mellitus.

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    Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.735 Page 6 of 7




adequate deterrence, to protect the public from further crimes of the defendant, and provide the

defendant effective training and treatment[.]”6 Similarly, the Commission’s policy statement

permits a court to grant release only where the defendant is not a “danger to the safety of any

other person or the community[.]” U.S.S.G. § 1B1.13(2). Relevant factors include the nature of

the offense, the history and characteristics of the defendant, and the nature of the danger. Id. The

policy statement “directs the court to first apply the § 3553(a) factors and ‘then determine if the

defendant remains a danger to the safety of any other person in the community as provided in 18

U.S.C. § 3142(g).’” United States v. Chee, No. 2:05-CR-773-TC, 2020 WL 5258696, at *5 (D.

Utah Sept. 3, 2020) (quoting U.S.S.G. § 1B1.13(2)).

         Defendant argues that because he has already served the majority of his sentence, and has

shown improvement over his time in prison, he no longer presents a danger to the community.

(Dkt. 115 at 3-4.) The government argues Defendant’s extensive criminal history and underlying

crime show that the § 3553(a) factors do not warrant an exercise of discretion to reduce

Defendant’s sentence and that Defendant will be a danger to the community. (Dkt. 116 at 12.)

         The Court agrees with the government; Defendant has failed to prove that the § 3553(a)

factors weigh in his favor and has failed to prove he will not be a danger to the community. First,

Defendant’s criminal history is extensive and fairly violent. Defendant has multiple felony drug

convictions, including attempted operation of a clandestine laboratory (methamphetamine),

illegal possession of a controlled substance (methamphetamine), and possession with intent to


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 Under 18 U.S.C. § 3553(a), in determining the particular sentence to be imposed, the Court shall consider: (1) the
nature and circumstances of the offense and the history and characteristics of the defendant; (2) the need for the
sentence imposed to reflect the seriousness of the offense and promote respect for the law, and to provide just
punishment for the offense, to afford adequate deterrence, to protect the public from further crimes of the defendant,
and provide the defendant effective training and treatment; (3) the kinds of sentences available; (4) the kinds of
sentences and sentencing range applicable to the category of offense committed; (5) any pertinent policy statement;
(6) the need to avoid unwarranted sentencing disparities among defendants with similar records who have been
found guilty of similar conduct; and (7) the need to provide restitution to any victims.

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  Case 2:08-cr-00365-DB Document 120 Filed 10/16/20 PageID.736 Page 7 of 7




distribute a controlled substance (methamphetamine). (Dkt. 113 at 7-8.) He also has a history

involving misdemeanor crimes of violence, including four convictions for battery, an attempted

aggravated assault conviction, and multiple DUIs. (Dkt. 113 at 4-9.)

       Second, for the underlying crime in this case, Defendant pleaded guilty to and was

convicted of a serious offense. After multiple drug convictions involving methamphetamine, in

January 2008, Defendant showed an inclination to recidivate when he again committed a crime

involving methamphetamine by selling three grams of the illegal drug to an undercover officer.

(Dkt. 113 at 4.) He later pleaded guilty and was convicted of distribution of methamphetamine.

Even while incarcerated, Defendant was sanctioned for fighting in 2012 and for phone abuse in

2015. (Dkt. 113 at 4.) Defendant also has a known gang affiliation with the Aryan Brotherhood

in Salt Lake City. (Dkt. 113, Ex. 1 at 16.)

       The § 3553(a) factors do not warrant an exercise of discretion to reduce Defendant’s

sentence. Granting release in this case would provide insufficient recognition of the seriousness

of Defendant’s offense and would fail to promote respect for the law and provide just

punishment for the offense. Furthermore, the Court finds that Defendant’s extensive, consistent,

and fairly violent criminal history reflects his potential danger to the community.

                                         CONCLUSION

       For the foregoing reasons, Defendant’s motion for sentence reduction under 18 U.S.C. §

3582(c)(1)(A) is DENIED.

       DATED this 15th day of October, 2020.

                                                     BY THE COURT


                                                     Dee Benson
                                                     United States District Judge
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